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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 United Sovereign Americans, Inc., et
 al.,

       Plaintiffs,                           Civil No. 24-12256

 v.                                          Honorable Robert J. White
                                             Mag. Judge Anthony P. Patti
 Jocelyn Michelle Benson, et al.,

       Defendants.

              FEDERAL DEFENDANT’S MOTION TO DISMISS

      Defendant, Merrick Garland, Attorney General, U.S. Department of Justice,

by his attorneys, Dawn N. Ison, United States Attorney for the Eastern District of

Michigan, and Priya Bodary, Assistant United States Attorney, moves to dismiss

Plaintiffs’ complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6) for lack of subject matter jurisdiction and failure to state a claim upon

which relief can be granted. The grounds for this motion are set forth more fully in

the attached brief.

      Pursuant to Local Rule 7.1(a), counsel for Federal Defendant requested but

did not obtain concurrence in the relief sought.

                                              Respectfully submitted,

                                              Dawn N. Ison
                                              United States Attorney
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

       United Sovereign Americans, Inc., et
       al.,

             Plaintiffs,                          Civil No. 24-12256

       v.                                         Honorable Robert J. White
                                                  Mag. Judge Anthony P. Patti
       Jocelyn Michelle Benson, et al.,

             Defendants.

                            BRIEF IN SUPPORT OF
                   FEDERAL DEFENDANT’S MOTION TO DISMISS

                                    ISSUES PRESENTED
  I.        Whether the Court lacks jurisdiction because Plaintiffs cannot establish
            constitutional standing to sue.

 II.        Whether the Court lacks jurisdiction over Plaintiffs’ mandamus claim
            because there is no clear duty to act and Plaintiffs cannot establish they are
            entitled to extraordinary relief.
III.        Whether Plaintiffs fail to state a claim under the All Writs Act because there
            is no mandamus jurisdiction.
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United States v. Texas, 599 U.S. 670 (2023)




                                         v
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                                 INTRODUCTION

      This is a purported voting rights case brought by two organizations and six

individual Michigan residents, grouped as plaintiffs. Broadly speaking, Plaintiffs

allege that Michigan’s 2022 federal election did not meet minimum reliability

standards, as they define them, so the results should not have been certified. Using

this premise as their baseline, they extrapolate that “[i]f the 2022 election

performance is repeated in 2024, [Plaintiffs] and all Michigan voters will suffer

damages.” (ECF No. 1, PageID.4.) They ask this Court to step in and take

extraordinary action—to issue a writ of mandamus that orders the Attorney

General of the United States (“Federal Defendant”) to halt Michigan’s 2024 federal

election—so that Plaintiffs’ allegations can be investigated and the 2024 election

can proceed on Plaintiffs’ terms.

      Plaintiffs’ claims against the Attorney General are flawed from all angles.

First and foremost, this Court does not have jurisdiction to entertain Plaintiffs’

claims. No Plaintiff has Article III standing, as Plaintiffs assert only speculative

injuries and generalized grievances that are not fairly traceable to Federal

Defendant or redressable by this Court. Plaintiffs’ mandamus claim is also

jurisdictionally deficient, as Plaintiffs cannot establish that Federal Defendant has a

clear, nondiscretionary duty to act. Beyond these fatal jurisdictional issues,
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Plaintiffs’ claims are not well-pleaded. Federal Defendant seeks dismissal for lack

of jurisdiction and failure to state a claim accordingly.

                                  BACKGROUND

      This case is among a series of cases filed by plaintiff United Sovereign

Americans against state election officials and Federal Defendant seeking writs of

mandamus to prevent allegedly unreliable election results. In this case, the other

plaintiffs are six individuals, Timothy Mauro-Vetter, Braden Giacobazzi, Phani

Mantravadi, Philip O’Hallorin, Donna Brandenburg, and Nick Somberg, and

nonprofit Michigan Fair Elections Institute. (ECF No. 1, PageID.13–14.)

      Collectively, Plaintiffs allege that Michigan’s 2022 federal election had

“hundreds of thousands of voter registration apparent errors” uncovered by United

Sovereign Americans’ “expert data analysists.” (Id. at PageID.34–35.) These

alleged errors concern voter registration information, such as addresses, names,

registration status, and age, and votes counted. (Id. at PageID.34–42.) Taking these

purported identified errors, United Sovereign Americans computed error rates that

Plaintiffs contend exceed the benchmark error rate applicable to “voting systems”

under section 301 of the Help America Vote Act (HAVA) and the U.S. Election

Assistance Commission’s 2015 Voluntary Voting System Guidelines. (Id. at

PageID.24–26, 37–42.) According to Plaintiffs, the error rates United Sovereign

Americans calculated show that the 2022 election results are unreliable, and


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Defendants have not acted to prevent these errors from recurring. (Id. at

PageID.42–50.) Plaintiffs “believe and therefore aver” that these errors “will

continue uncorrected . . . absent [judicial] intervention.” (Id. at PageID.7.)

      Based on all this, Plaintiffs ask the Court to issue a writ of mandamus under

the All Writs Act and Mandamus Act that orders Federal Defendant to “comply

with” and “enforce and police” the National Voter Registration Act (NVRA),

HAVA, and “Michigan Election Law.” (Id. at PageID.42–52.) As requested by

Plaintiffs, the writ would order Federal Defendant “to take steps . . . to ensure the

apparent errors made during the 2022 elections do not recur” and bring down the

error rates Plaintiffs computed. (Id. at PageID.43, 50.) Although Plaintiffs maintain

that they are not challenging or seeking to undo the 2022 election results, they

make various requests related to that election, asking the Court to: (1) formally

recognize that Michigan’s voter registration rolls had hundreds of thousands of

apparent errors in the 2022 Election, (2) order Defendants to ministerially correct

the apparent errors in the 2022 election, and (3) order Defendants to “ascertain to

the Court’s satisfaction the reasons why the 2022 errors occurred.” (Id. at

PageID.53.) Plaintiffs also ask the Court to order the State to submit voter

registration requests to the Department of Homeland Security to “verify citizen or

immigration status . . . whenever there exist any reliable indicators that an

applicant or registered voter may not be a U.S. citizen.” (Id.) Then, citing


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“permissible causes of action under NVRA and HAVA,” Plaintiffs ask the Court to

order that “the State of Michigan may not certify the 2024 General Election unless

and until the relevant [defendants] have demonstrated to the Court that the 2024

General Election and subsequent elections were conducted in conformity with

federal and state law and with fewer than the maximum errors permissible.” (Id.)

Last, Plaintiffs ask the Court to order Defendants to perform their duties as “the

law intended,” including “investigating, and where warranted in their discretion,

prosecuting persons or entities for failing to perform their duties in conformity

with the law.” (Id. at PageID.53–54 (emphasis added).)

      Federal Defendant now moves to dismiss.

                                LEGAL STANDARD

      A Rule 12(b)(1) motion challenges the court’s subject matter jurisdiction

over the action before it and can be either a facial or factual attack. United States v.

Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). In facial attacks, the court accepts the

complaint’s allegations as true; in factual attacks, the court “is free to weigh the

evidence and satisfy itself as to the existence of its power to hear the case.” Id. On

a Rule 12(b)(1) motion, “the plaintiff has the burden of proving jurisdiction.” Moir

v. Greater Cleveland Reg’l Transit Auth., 895 F.2d 266, 269 (6th Cir. 1990). When

challenged, jurisdictional issues must be resolved first, as a court cannot proceed

without jurisdiction. See id.


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      A Rule 12(b)(6) motion to dismiss challenges whether the plaintiff has

sufficiently stated a claim “upon which relief can be granted.” Fed. R. Civ. P.

12(b)(6). In resolving a Rule 12(b)(6) motion, the court construes the complaint in

the light most favorable to the plaintiff and accepts all well-pleaded allegations as

true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[A] complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible

on its face” to survive. Id. (citation omitted). “Threadbare recitals of the elements

of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

“Generally, at the motion-to-dismiss stage, a federal court may consider only the

plaintiff’s complaint. However, . . . if a plaintiff references or quotes certain

documents, or if public records refute a plaintiff’s claims,” the court “can then

consider them in resolving the Rule 12(b)(6) motion.” In re Omnicare, Inc. Sec.

Litig., 769 F.3d 455, 466 (6th Cir. 2014).

                                     ARGUMENT

I.    Plaintiffs Lack Standing to Sue Federal Defendant.

      Plaintiffs fail to satisfy the most basic requirement for any suit to proceed in

federal court—Article III standing to sue. Article III of the Constitution confines

federal judicial power to “Cases” and “Controversies,” which “can exist only if a

plaintiff has standing to sue.” United States v. Texas, 599 U.S. 670, 675 (2023).

This “bedrock constitutional requirement” must be met before a court may reach


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the merits of a party’s claim. Id. “By ensuring that a plaintiff has standing to sue,

federal courts ‘prevent the judicial process from being used to usurp the powers of

the political branches.’” Id. at 676 (quoting Clapper v. Amnesty Int’l USA, 568

U.S. 398, 408 (2013)).

      The “irreducible constitutional minimum of standing contains three

elements”: injury in fact, causation, and redressability. Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992). “The party invoking federal jurisdiction bears the

burden of establishing these elements.” Id. at 561. As discussed below, Plaintiffs

fail to meet their burden for each element.

      A.     Plaintiffs fail to establish injury in fact.

      To start, Plaintiffs’ allegations do not amount to injury in fact. An injury in

fact is “an invasion of a legally protected interest which is (a) concrete and

particularized and (b) actual or imminent, not conjectural or hypothetical.” Id. at

560 (citations, quotation marks omitted). To be “concrete,” the injury must be “real

and not abstract,” such that the plaintiff has “a personal stake in the outcome.”

Spokeo Inc. v. Robins, 578 U.S. 330, 339 (2016); Los Angeles v. Lyons, 461 U.S.

95, 101 (1983). To be “particularized,” the injury “must affect the plaintiff in a

personal and individual way.” Spokeo, 578 U.S. at 339. And where no actual injury

is alleged, the injury must be “certainly impending” to meet imminence. Clapper,

568 U.S. at 410. Injury in fact is not met where a plaintiff merely asserts a


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“generalized grievance” in which “the impact on [the] plaintiff is plainly

undifferentiated and common to all members of the public.” Lujan, 504 U.S. at 575

(cleaned up).

      Plaintiffs’ alleged injuries do not meet any of these requirements. Plaintiffs

allege they “have been and are currently harmed by the State of Michigan voting

systems currently and formerly in use in Michigan state and federal elections”

because the systems “violate” federal and state election laws, the Constitution, and

federal civil rights laws “pertaining to voter registration rolls, transparency,

compliance, and certification of the voting systems.” (ECF No. 1, PageID.17.)

Plaintiffs allege that Defendants “have allowed, and continue to allow,” these

alleged violations. (Id.) This injury is not theirs alone, rather it is shared by “all

Michigan voters” and, they assert, “would cease to exist or be greatly relieved” by

obtaining their requested relief. (Id.)

      Individually, some plaintiffs also allege injury related to the 2022 election,

which isn’t being challenged. (Id. at PageID.15–16.) Mauro-Vetter alleges that he

“uncovered voting irregularities” through FOIA requests and some of his FOIA

requests “were ignored.” (Id. at PageID.15.) Mantravadi alleges that he is the CEO

of a for-profit business that was “negatively impacted due to the 2022 Michigan

elections by data manipulation of vote history records,” leading to a “loss of

customer base.” (Id. at PageID.16.) O’Hallorin was a “2022 election challenger”


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who alleges his “rights were violated due to [defendants’] failure to enforce federal

and Michigan state election laws.” (Id.) Brandenburg was a gubernatorial

candidate in 2022 who allegedly suffered “financial injury through campaign

investments spent to run for office where the 2022 election was not held to proper .

. . standards for election integrity.” (Id.)

       As to the other plaintiffs, no specific injuries are alleged. For Giacobazzi, the

complaint just says that he was a 2022 recount and poll challenger and is currently

running for Orion Township Clerk; for Somberg, it identifies him as a “citizen of

Michigan, Oakland County”; and for United Sovereign Americans, it says that the

organization discovered “evidence of registration issues in the 2020 and 2022

elections” and “is not seeking a distinct form of relief.” (Id. at PageID.16–18.)

Finally, it is not clear what the basis is for alleging that Michigan Fair Elections

Institute has standing, as the complaint is largely silent on its role, saying only that

it “is not seeking a distinct form of relief.” (Id. at PageID.18.) The complaint does

not allege that the individual plaintiffs are members of either organization, and the

organizations base their standing on the individual plaintiffs.1 (See id.)


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  The complaint does not attempt to invoke organizational or associational standing
for United Sovereign Americans or the Michigan Fair Elections Institute. (ECF No.
1, PageID.18.) In any event, the complaint’s allegations do not meet organizational
standing or associational standing. See Shelby Advocs. for Valid Elections v.
Hargett, 947 F.3d 977, 982 (6th Cir. 2020) (no associational standing where
members do not have standing “in their own right,” and no organizational standing
based on past costs spent).

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      All told, these allegations do not come close to constituting injury in fact.

First, rather than being “concrete and particularized,” Plaintiffs’ injuries are

textbook generalized grievances. See Lujan, 504 U.S. at 573–74 (“We have

consistently held that a plaintiff raising only a generally available grievance about

government—claiming only harm to his and every citizen’s interest in proper

application of the Constitution and laws, and seeking relief that no more directly

and tangibly benefits him than it does the public at large—does not state an Article

III case or controversy.”). Plaintiffs do not allege that anything real or personal is

at stake for them if the 2024 election proceeds without their interruption. (See ECF

No. 1, PageID.16–18); Clapper, 568 U.S. at 411. All Plaintiffs say is that they

were and will be “harmed” by Michigan’s “voting systems” because the systems

“violate” laws. (ECF No. 1, PageID.17.) But “an injury amounting only to the

alleged violation of a right to have the Government act in accordance with law [is]

not judicially cognizable.” See Lujan, 504 U.S. at 575. And despite the thousands

of registration issues purportedly “uncovered” by United Sovereign Americans,

tellingly, no Plaintiff alleges that these issues impacted their ability to register for

the 2024 election. See Shelby Advocs. for Valid Elections v. Hargett, 947 F.3d 977,

981 (6th Cir. 2020) (noting plaintiffs’ allegations of past election issues failed to

meet injury in fact because, inter alia, “they do not allege that [the issues] ever

happened to any of them or in any election in which they were candidates”). As it


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stands, Plaintiffs’ injuries do not meet the “concrete and particularized”

requirements of injury in fact.

      Second, Plaintiffs cannot show their alleged harm is “actual or imminent,” as

opposed to “conjectural or hypothetical.” Lujan, 504 U.S. at 561 (citing Whitmore

v. Arkansas, 495 U.S. 149, 155 (1990)). As alleged, Plaintiffs “believe and

therefore aver” that the 2024 election will violate various laws, but Plaintiffs do

not base their beliefs in anything tangible, and “[a]llegations of possible future

injury do not satisfy the requirements of Article III.” (ECF No. 1, PageID.51–52);

Whitmore, 495 U.S. at 158. Plaintiffs’ allegations rest on “speculative fear,”

Clapper, 568 U.S. at 410, that registration issues will occur and somehow lead to

unreliable election results. This “highly attenuated chain of possibilities [] does not

satisfy the requirement that threatened injury must be certainly impending,” and

because Plaintiffs do not offer anything more, their allegations do not meet

imminence. See id.

      Nor can Plaintiffs meet standing to the extent they “incurred certain costs”

related to the 2022 election. Id.; (ECF No. 1, PageID.16–17). Nothing ties those

alleged costs to the 2024 election, and Plaintiffs “cannot manufacture standing

merely by inflicting harm on themselves based on their fears of hypothetical future

harm that is not certainly impending.” Clapper, 568 U.S. at 416; FDA v. All. for

Hippocratic Med., 602 U.S. 367, 394 (2024) (“[A]n organization that has not


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suffered a concrete injury caused by a defendant's action cannot spend its way into

standing simply by expending money to gather information and advocate against

the defendant's action. An organization cannot manufacture its own standing in that

way.”). At bottom, Plaintiffs’ fears about the 2024 election amount to mere

guesswork, not injury in fact. See, e.g., Republican Nat’l Comm. v. Benson, No.

24-262, --- F. Supp. 3d ---, 2024 WL 4539309, at *9 (W.D. Mich. Oct. 22, 2024)

(holding plaintiffs’ fears of unlawful voting, as “psychic injury,” do not amount to

injury in fact (quoting Glennborough Homeowners Ass’n v. U.S. Postal Serv., 21

F. 4th 410, 415 (6th Cir. 2015))). Plaintiffs lack standing accordingly.

       B.     Plaintiffs do not meet causation or redressability.

       Beyond failing to allege injury in fact, Plaintiffs cannot establish the

remaining elements of standing: causation and redressability. For causation, the

injury alleged “has to be fairly traceable to the challenged action of the defendant,

and not the result of the independent action of some third party before the court.”

Lujan, 504 U.S. at 560 (cleaned up). For redressability, “it must be likely, as

opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Id. “When a [plaintiff] challenges the defendant’s actions with respect to

third parties . . . , it is ‘substantially more difficult’ to establish standing given the

causation and redressability problems that invariably arise.” Arizona v. Biden, 40

F. 4th 375, 383 (6th Cir. 2022).


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      Here, Plaintiffs’ alleged injuries from Federal Defendant are that Federal

Defendant has various enforcement, policing, and prosecution powers that have not

been employed, or have not worked, to Plaintiffs’ satisfaction. (ECF No. 1,

PageID.30–33, 42, 49–52.) Plaintiffs believe election fraud may be occurring by

third parties and that Defendants “have ignored or dismissed” their concerns. (Id.

at PageID.30–33, 37.) But Plaintiffs do not allege that their alleged injuries—fears

that the 2024 election results will be unreliable—can be traced to Federal

Defendant in any specific way. No Department of Justice enforcement guidelines,

policies, or directives are mentioned in the complaint, nor do Plaintiffs provide

examples of supposed action that should have been taken. Without such

allegations—or anything like them—Plaintiffs’ alleged injury is not “fairly

traceable” to Federal Defendant.

      Plaintiffs also cannot establish that their injuries are redressable by this

Court. The relief they seek against Federal Defendant is a mandamus order that

Defendant “perform [] duties as the law intended,” to include “investigating, and

where warranted in [his] discretion, prosecuting persons or entities.” (ECF No. 1,

PageID.53–54.) As an initial matter, it is unclear how such an order “would

remedy [Plaintiffs’] alleged injury,” as Plaintiffs have not alleged that they have

suffered any specific injury based on Federal Defendant’s supposed inaction. See

Lujan, 504 U.S. at 569. It is well-established that “federal courts are generally not


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the proper forum for resolving claims that the Executive Branch should make more

arrests or bring more prosecutions.” Texas, 599 U.S. at 680. Indeed, Article II

provides the Executive Branch discretionary authority to decide “how to prioritize

and how aggressively to pursue legal actions,” and “courts generally lack

meaningful standards for assessing the propriety of enforcement choices in this

area.” Id. at 679. Because Plaintiffs cannot establish that their requested relief

remedies their alleged injuries, or can even be granted by this Court, they lack

redressability.

                                    *      *      *

      Plaintiffs cannot meet their burden of establishing standing to sue Federal

Defendant. The Court should dismiss their complaint for lack of jurisdiction

accordingly.

II.   The Court Lacks Jurisdiction Over Plaintiffs’ Mandamus Claim.

      Likewise, Plaintiffs’ mandamus claim fails for lack of jurisdiction. The

Mandamus Act confers jurisdiction over “any action in the nature of mandamus to

compel an officer or employee of the United States or any agency thereof to

perform a duty owed to the plaintiff.” 28 U.S.C. § 1361. Jurisdiction “is

inextricably bound with the merits of whether a writ of mandamus should issue; in

order to establish either jurisdiction or entitlement to the writ, a court must find




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that a duty is owed to the plaintiff.” Maczko v. Joyce, 814 F.2d 308, 310 (6th Cir.

1987).

      Mandamus is a “drastic” remedy, “to be invoked only in extraordinary

situations.” Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 34 (1980).

Mandamus is available only if “(1) the plaintiff has a clear right to relief; (2) the

defendant has a clear duty to act; and (3) there is no other adequate remedy

available to the plaintiff.” Carson v. U.S. Off. of Special Couns., 633 F.3d 487, 491

(6th Cir. 2011) (quotation omitted). “Mandamus is not an appropriate remedy if the

action that the petitioner seeks to compel is discretionary.” Id.; Heckler v. Ringer,

466 U.S. 602, 617 (1984).

      Plaintiffs fail to meet the high bar that has been set for mandamus relief.

They do not establish any “duty owed” by Federal Defendant within the meaning

of § 1361. See Mackzo, 814 F.2d at 310. Such a duty “must be a mandatory or

ministerial obligation” that “is plainly defined and peremptory.” Id. “If the alleged

duty is discretionary or directory, the duty is not owed.” Id.

      Plaintiffs’ complaint contains no such allegations. The “duty” they allege is

that Federal Defendant “enforce[s] and police[s]” the NVRA and HAVA in

Michigan by “investigating, and where warranted in their discretion, prosecuting

persons or entities.” (ECF No. 1, PageID.49–54.) Plaintiffs’ allegations, therefore,

concede that they ask this Court to enforce a discretionary duty, for which there is


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no mandamus remedy. See Mackzo, 814 F.2d at 310. Indeed, as explained above,

investigating and prosecuting are quintessential discretionary decisions. See Texas,

599 U.S. at 680. Accordingly, “[m]andamus will not lie to control the exercise of

this discretion.” Peek v. Mitchell, 419 F.2d 575, 577 (6th Cir. 1970); see also

Jarrett v. Ashcroft, 24 F. App’x 503, 504 (6th Cir. 2001) (affirming dismissal of

mandamus action to compel U.S. Attorney General to investigate and prosecute

plaintiff’s allegations “because defendants owed [plaintiff] no mandatory duty”);

Leisure v. FBI of Columbus, Ohio, 2 F. App’x 488, 489 (6th Cir. 2001) (affirming

dismissal of mandamus action that sought a court order directing the FBI to

“address its duties and obligations to protect citizens”). Plaintiffs thus cannot

establish that Federal Defendant owes them a clear nondiscretionary duty, so their

mandamus claim fails.

      Nor can Plaintiffs establish a clear right to relief, specifically for their

allegations that HAVA has been violated. Plaintiffs allege violations of HAVA

based on the error rate computed by United Sovereign Americans’ “expert

analysists” that Plaintiffs claim exceeds HAVA’s acceptable error rate. (ECF No.

1, PageID.24–27.) Yet, as Plaintiffs acknowledge, HAVA’s error rate pertains to

“voting systems,” which refers to the “hardware-related errors,” not the registration

issues Plaintiffs’ complaint identifies. See U.S. Election Assistance Comm’n, 2015

Voluntary Voting System Guidelines, 79–80, A-20–A-21, https://www.eac.gov/


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sites/default/files/eac_assets/1/28/VVSG.1.1.VOL.1.FINAL1.pdf. (2015); (ECF

No. 1, PageID.10); see also 52 U.S.C. § 21081(a)(5) (discussing the “error rate of

the voting system in counting ballots” while excluding errors “attributable to an act

of the voter”). The factual errors that Plaintiffs allege are thus inapposite to the

HAVA violations alleged, so Plaintiffs cannot establish a “clear right to relief”

under HAVA. Plaintiffs’ mandamus claim should be dismissed for this reason, too.

III.   Plaintiffs’ All Writs Act Claim Must Be Dismissed.

       Last, to the extent Plaintiffs bring their All Writs Act claim against Federal

Defendant,2 it must be dismissed. The All Writs Act provides that “[t]he Supreme

Court and all courts established by Act of Congress may issue all writs necessary

or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.” 28 U.S.C. § 1651. The Act enables federal courts to issue

such commands “as may be necessary or appropriate to effectuate and prevent the

frustration of orders it has previously issued in its exercise of jurisdiction otherwise

obtained.” United States v. N.Y. Tel., 434 U.S. 159, 172 (1977). It does not

authorize courts “to issue ad hoc writs whenever compliance with statutory

procedures appears inconvenient or less appropriate.” Pa. Bureau of Corr. v. U.S.

Marshals Serv., 474 U.S. 34, 43 (1985). “Where a statute specifically addresses the



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 This claim is generally brought against “Respondents,” but as pleaded it seems
more directed towards the State Defendants. (ECF No. 1, PageID.42–52.)

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particular issue at hand, it is that authority, and not the All Writs Act, that is

controlling.” Id.

      Plaintiffs’ All Writs Act claim mirrors their mandamus claim against Federal

Defendant. (See ECF No. 1, PageID.42–52.) Plaintiffs seek the same writ of

mandamus under both statutes—one compelling Federal Defendant to enforce and

police the NVRA and HAVA. (ECF No. 1, PageID.42–52.) But the All Writs Act

does not provide an independent source of jurisdiction, so Plaintiffs are not

separately entitled to mandamus relief under it. See Syngenta Crop Prot., Inc. v.

Henson, 537 U.S. 28, 33 (2002) (noting “the All Writs Act does not confer

jurisdiction under federal courts” so jurisdiction does not lie unless “specifically

provide[d]” by Congress). As discussed above, Plaintiffs cannot establish their

mandamus claim under 28 U.S.C. § 1361 because they do not allege a clear,

nondiscretionary duty to act. Without jurisdiction under the Mandamus Act, their

All Writs Act claim necessarily fails, too, as Plaintiffs do not assert any other

claims in their complaint and, in fact, expressly disclaim other statutory authority

for their claims. (See ECF No. 1, PageID.44–45 (alleging Plaintiffs have no

remedy other than mandamus so that Defendants will enforce HAVA and NVRA

but they are not bringing a “private cause of action” under those statutes).) The

Court should therefore dismiss Plaintiffs’ All Writs Act claim against Federal

Defendant.


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                                 CONCLUSION

      For these reasons, the Court should grant Federal Defendant’s motion and

dismiss all claims against Federal Defendant.

                                             Respectfully submitted,

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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 United Sovereign Americans, Inc., et
 al.,

          Plaintiffs,                          Civil No. 24-12256

 v.                                            Honorable Robert J. White
                                               Mag. Judge Anthony P. Patti
 Jocelyn Michelle Benson, et al.,

          Defendants.

                        BRIEF FORMAT CERTIFICATION FORM

      I, Priya Bodary, certify that the foregoing brief complies with Eastern District
of Michigan Local Rules 5.1(a), 5.1.1, and 7.1, and Judge White’s Case Management
Requirements, including the following (click each box to indicate compliance):
      ☒ the brief contains a statement regarding concurrence, see LR 7.1(a);
      ☒ the brief, including footnotes, uses 14-point font, see LR 5.1(a)(3);
      ☒ the brief contains minimal footnotes and, in all events, no more than 10, see
        Case Management Requirements § III.A;
      ☒ the brief and all exhibits are filed in searchable PDF format, see Case
        Management Requirements § III.A;
      ☒ except for footnotes and necessary block quotes, the brief is double spaced
        (not “Exactly 28 pt” spaced) with one-inch margins, see LR 5.1(a)(2);
      ☒ deposition transcripts have been produced in their entirety (not in minuscript),
        see Case Management Requirements § III.A;
      ☒ if the brief and exhibits total 50 pages or more, I will mail to chambers a
        courtesy copy with ECF headers, see Case Management Requirements § III.B.
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I also acknowledge that my brief will be stricken from the docket if the Court later
finds that these requirements are not met.


s/ Priya Bodary
Priya Bodary
Assistant U.S. Attorney
Attorney for Defendant Merrick Garland




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